Case 1:03-cV-0123O-.]DB-tmp Document 33 Filed 05/06/05 Page 1 of 3 Page|D 67

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IN THE UNITED sTATEs DISTRICT COURT ['ED 5)/\\ ft
FoR THE WEsTERN DISTRICT oF TENNESSEE ash D.o
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LoRENzo WEBB, W§ rd Q;U 51 Df[/;?Léor
.- l,-.\~\'_.ch » _
Plaimiff, KSON
v. No. 03-1230-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT ls so 0RDEREI) this C;aday of May, 2005.

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J. DANIEL BREEN
NI D STATES DISTRICT JUDGE

 

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w:rh Rule 58 and/m 79 (a) FHCP on § Cém@!§ance

 

F TENNESSEE

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Honorable J. Breen
US DISTRICT COURT

